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IN THE UNITED STATES DISTRICT COURT .
FOR THE DISTRICT OF MARYLAND \UN 2 » 202%
LESTER LEE, ey GE MARYLAND ve
Plaintiff, a
Vv. Civil Action No.: TJS-24-1205

BROOKSIDE PARK CONDOMINIUMS
INC., ef al.,

Defendants.

ORDER

The above-captioned Complaint was filed by counsel on April 24, 2024. ECF No. 1.
Thereafter, on April 25, 2024, Plaintiff filed a Motion to Proceed in Forma Pauperis. ECF No. 14.
In the Motion, Plaintiff indicates that, for the past 12 months, he made a gross monthly income of
$3,737.85, and he expects that income to continue next month. ECF No. 14 at 2. An income of
$3,737.85 per month translates to an annual gross income of $44,854.20. Plaintiff has no
dependents. /d. at 3. He indicates that he spends $250.00 per month on clothing, $180 per month
on dry cleaning, $150.00 per month on recreation and entertainment, and $600.00 per month on
pet food and other pet related items. Jd. at 4-5.

The Court references the federal poverty guidelines to determine indigency. Using the
information provided by Plaintiff, he falls well above the federal poverty guidelines for a single-
member household. See HHS Federal Poverty Guidelines for 2024, available at
https://aspe.hhs. gov/topics/poverty-economic-mobility/poverty-guidelines (last visited May 28,
2024). Accordingly, his Motion is denied. If Plaintiff wishes to continue with this action, he must
pay the Court’s filing fee of $405.00 within 21 days of the date of this Order.

Accordingly, it is this 28th day of May, 2024, by the United States District Court for the
District of Maryland, hereby ORDERED that:

1. Plaintiff's Motion to Proceed in Forma Pauperis (ECF No. 14) is DENIED:
2. Plaintiff IS GRANTED 21 days from the date of this Order to pay the full filing fee of

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$405.00;
3. Plaintiff Is FOREWARNED that failure to pay the filing fee will result in dismissal of the
Complaint without prejudice and without further notice from the Court; and

4. The Clerk SHALL MAIL a copy of this Order to Plaintiff.

/s/
Timothy J. Sullivan
United States Magistrate Judge

